           Case:15-16240-MER Doc#:5 Filed:06/05/15                                       Entered:06/05/15 08:27:26 Page1 of 14


 Fill in this information to identify your case:                                               Check one box only as directed in this form and in
                                                                                               Form 22A-1Supp:
 Debtor 1            Christopher Lee Watts

 Debtor 2          Shanann Cathryn Watts                                                              1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                      2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Colorado                                 applies will be made under Chapter 7 Means Test
                                                                                                         Calculation (Official Form 22A-2).
 Case number                                                                                          3. The Means Test does not apply now because of
 (if known)                                                                                              qualified military service but it could apply later.

                                                                                                      Check if this is an amended filing
Official Form 22A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because
you do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from
Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
              penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
              living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
    If you have nothing to report for any line, write $0 in the space.
                                                                                                  Column A                  Column B
                                                                                                  Debtor 1                  Debtor 2 or
                                                                                                                            non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                     $          5,413.53       $         2,977.60
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                       $               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                         0.00      $              0.00
  5. Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                   $    0.00
       Ordinary and necessary operating expenses                           -$   0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $               0.00      $              0.00
  6. Net income from rental and other real property
     Gross receipts (before all deductions)                                $    0.00
       Ordinary and necessary operating expenses                           -$   0.00
       Net monthly income from rental or other real property               $    0.00 Copy here -> $               0.00      $              0.00
                                                                                                  $               0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                              page 1
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                        Entered:06/05/15 08:27:26 Page2 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                     Case number (if known)



                                                                                                    Column A                      Column B
                                                                                                    Debtor 1                      Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                      $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                         $                  0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total on line 10c.
            10a.                                                                                    $                  0.00       $           0.00
            10b.                                                                                    $                  0.00       $           0.00
            10c. Total amounts from separate pages, if any.                                      + $                   0.00       $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $     5,413.53          +$          2,977.60     =$       8,391.13

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>       12a. $         8,391.13

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $      100,693.56

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 CO

       Fill in the number of people in your household.                       3
       Fill in the median family income for your state and size of household.                                                           13.   $       71,976.00

  14. How do the lines compare?
       14a.            Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3.
       14b.            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                       Go to Part 3 and fill out Form 22A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Christopher Lee Watts                                                 X /s/ Shanann Cathryn Watts
                   Christopher Lee Watts                                                   Shanann Cathryn Watts
                   Signature of Debtor 1                                                   Signature of Debtor 2
        Date June 4, 2015                                                         Date June 4, 2015
             MM / DD / YYYY                                                            MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 22A-2.
              If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                                 page 2
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
           Case:15-16240-MER Doc#:5 Filed:06/05/15                                        Entered:06/05/15 08:27:26 Page3 of 14


 Fill in this information to identify your case:                                                               Check one box only as directed in lines 40
                                                                                                               or 42:
 Debtor 1            Christopher Lee Watts
                                                                                                                   According to the calculations required by this
 Debtor 2          Shanann Cathryn Watts                                                                           Statement:
 (Spouse, if filing)
                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the:            District of Colorado
                                                                                                                      2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                   Check if this is an amended filing
Official Form 22A - 2
Chapter 7 Means Test Calculation                                                                                                                              12/14

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly income (Official Form 22A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Adjusted Income

 1.    Copy your total current monthly income.                              Copy line 11 from Official Form 22A-1 here=>          1.   $              8,391.13

 2.    Did you fill out Column B in Part 1 of Form 22A-1?
           No. Fill in $0 on line 3d.
           Yes. Is your spouse Filing with you?
              No.        Go to line 3.
              Yes.       Fill in $0 on line 3d.

 3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:
           No. Fill in $0 on line 3d.
           Yes. Fill in the information below:

               State each purpose for which the income was used                                  Fill in the amount you
               For example, the income is used to pay your spouse's tax debt or to               are subtracting from
               support other than you or your dependents.                                        your spouse's income

               3a.                                                                           $

               3b.                                                                           $

               3c.                                                                           $

               3d. Total. Add lines 3a, 3b, and 3c                                           $              0.00

                                                                                                               Copy total here=>...3d.      -$              0.00


 4.    Adjust your current monthly income. Subtract line 3d from line 1.                                                                   $       8,391.13




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                                    page 1
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                        Entered:06/05/15 08:27:26 Page4 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                     Case number (if known)



 Part 2:          Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
    of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
    income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 22A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 22A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return,
            plus the number of any additional dependents whom you support. This number may be different from                             3
            the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
            Standards, fill in the dollar amount for food, clothing, and other items.                                                        $          1,249.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
            people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.



    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person              $             60

            7b. Number of people who are under 65                           X         3

            7c. Subtotal. Multiply line 7a by line 7b.                      $       180.00         Copy line 7c here=>     $       180.00


    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person              $          144

            7e. Number of people who are 65 or older                        X         0

            7f.   Subtotal. Multiply line 7d by line 7e.                    $         0.00         Copy line 7f here=>     $          0.00


            7g. Total. Add line 7c and line 7f                                                 $       180.00             Copy total here=> 7g. $      180.00




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                                      page 2
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                       Entered:06/05/15 08:27:26 Page5 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                 Case number (if known)


    Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

    Housing and utilities - Insurance and operating expenses
    Housing and utilities - Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be available at the bankruptcy
    clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
            fill in the dollar amount listed for your county for insurance and operating expenses.                                        $                544.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                              9a. $        1,346.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file
                 for bankruptcy. Then divide by 60.

                 Name of the creditor                                           Average monthly
                                                                                payment

                 Chase Home Finance                                             $       2,833.66


                                                                                                        Copy line
                                    9b. Total average monthly payment           $       2,833.66        9b here=> -$                2,833.66

            9c. Net mortgage or rent expense.

                                                                                                                                       Copy
                 Subtract line 9b (total average monthly payment) from line 9a (mortgage                                               line 9c
                 or rent expense). If this amount is less than $0, enter $0.                       9c. $                     0.00      here=>    $             0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $             0.00

             Explain why:

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                      $         672.00




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                                       page 3
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                       Entered:06/05/15 08:27:26 Page6 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                  Case number (if known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments


     Vehicle 1        Describe Vehicle 1:
                                                  2015 Ford Explorer

    13a. Ownership or leasing costs using IRS Local Standard                                  13a.        $           517.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you filed for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                            Average monthly
                                                                                payment

                 -NONE-                                                         $
                                                                                              Copy 13b
                                                                                              here => -$                  0.00

    13c. Net Vehicle 1 ownership or lease expense                                                                                Copy net
                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                           expense
                                                                                                  13c.     $          517.00     here => $         517.00



     Vehicle 2        Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard                                  13d.        $               0.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                            Average monthly
                                                                                payment

                 -NONE-                                                         $
                                                                                              Copy 13e
                                                                                              here => -$                  0.00

    13f. Net Vehicle 2 ownership or lease expense                                                                                Copy net
                                                                                                                                 Vehicle 2
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                           expense
                                                                                                  13f.     $              0.00   here => $             0.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                            $             0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                            $             0.00




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                               page 4
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                       Entered:06/05/15 08:27:26 Page7 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                 Case number (if known)




    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
        from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
        12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                             $       1,412.91

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $         311.70

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for
        life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
        term.                                                                                                                            $           78.59

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $             0.00

    20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.             $             0.00

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
        preschool.
            Do not include payments for any elementary or secondary school education.                                                    $             0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                   $             0.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
        services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
        business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
        production of income, if it is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.                   +$           60.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                               $     5,025.20
        Add lines 6 through 23.




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                               page 5
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                       Entered:06/05/15 08:27:26 Page8 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                  Case number (if known)



    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                                $       544.90
            Disability insurance                                            $         0.00
            Health savings account                                        +$          0.00


            Total                                                           $        544.90      Copy total here=>                 $         544.90


            Do you actually spend this total amount?

                    No. How much do you actually spend?
                    Yes                                                     $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
        of your household or member of your immediate family who is unable to pay for such expenses.                               $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                 $             0.00
    28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
        allowance on line 8.

            If you believe that you have home energy costs that are more than the home energy costs included in the
            non-mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                            $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.   $             0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                          $             0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2)..                                         $             0.00


    32. Add all of the additional expense deductions                                                                               $      544.90
        Add lines 25 through 31.




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                         page 6
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                                 Entered:06/05/15 08:27:26 Page9 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                              Case number (if known)




    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33g.
           To calculate the total average monthly payment, add all amounts that are contractually due to each secured
           creditor in the 60 months after you file for bankruptcy. Then divide by 60.

              Mortgages on your home:                                                                                                                  Average monthly
                                                                                                                                                       payment

    33a.      Copy line 9b here                                                                                                                  =>    $        2,833.66
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                                 =>    $              0.00
    33c.      Copy line 13e here                                                                                                                 =>    $              0.00

    Name of each creditor for other secured debt                     Identify property that secures the debt                    Does payment
                                                                                                                                include taxes or
                                                                                                                                insurance?

                                                                                                                                          No
    33d. -NONE-                                                                                                                           Yes          $

                                                                                                                                          No
    33e.                                                                                                                                  Yes          $

                                                                                                                                          No
    33f.                                                                                                                                  Yes         +$


                                                                                                                                                   Copy
                                                                                                                                                   total
    33g. Total average monthly payment. Add lines 33a through 33f                                                    $           2,833.66          here=>   $     2,833.66

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.

     Name of the creditor                                    Identify property that secures the debt                         Total cure                     Monthly cure
                                                                                                                             amount                         amount

     -NONE-                                                                                                              $                       ÷ 60 = $


                                                                                                                                                   Copy
                                                                                                                                                   total
                                                                                                               Total $                    0.00     here=>   $              0.00


    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                                   $                    0.00 ÷ 60 = $                    0.00




Official Form 22A-2                                                      Chapter 7 Means Test Calculation                                                               page 7
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                       Entered:06/05/15 08:27:26 Page10 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                   Case number (if known)



    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

              No.    Go to line 37.
              Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                     $               300.00
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees
                     (for all other districts).                                                          X                5.30
                                                                                                                                         Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                 $          15.90         here=> $               15.90



    37. Add all of the deductions for debt payment.                                                                                                $     2,849.56
        Add lines 33g through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                      $          5,025.20
            Copy line 32, All of the additional expense deductions                  $              544.90
            Copy line 37, All of the deductions for debt payment                   +$          2,849.56


            Total deductions                                                        $          8,419.66             Copy total here=>              $        8,419.66


 Part 3:        Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                       $          8,391.13
            39b. Copy line 38,Total deductions                                    -$           8,419.66

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                  Copy line
                 Subtract line 39b from line 39a                                    $              -28.53           39c here=>$                -28.53


            For the next 60 months (5 years)                                                                                      x 60

                                                                                                                                 Copy line
            39d. Total. Multiply line 39c by 60                                         39d.   $            -1,711.80            39d here=>    $        -1,711.80


    40. Find out whether there is a presumption of abuse. Check the box that applies:

              The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

              The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
              Part 4 if you claim special circumstances. Go to Part 5.

              The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.

        *Subject to adjustment on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                                          page 8
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                      Entered:06/05/15 08:27:26 Page11 of 14

 Debtor 1     Christopher Lee Watts
 Debtor 2     Shanann Cathryn Watts                                                                  Case number (if known)




    41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                   A Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official form 6), you may refer to line 5 on that form.         41a. $
                                                                                                                x      .25
                                                                                                                               Copy
              41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1)             $                  here=>   $
                     Multiply line 41a by 0.25.

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
        25% of your unsecured, nonpriority debt.
        Check the box that applies:

              Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

              Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
              presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


            No. Go to Part 5.

            Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for
                 each item. You may include expenses you listed in line 25.

                 You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                 necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                 adjustments.



                  Give a detailed explanation of the special circumstances                           Average monthly expense
                                                                                                     or income adjustment

                                                                                                        $

                                                                                                        $

                                                                                                        $

                                                                                                        $


 Part 5:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Christopher Lee Watts                                               X /s/ Shanann Cathryn Watts
                 Christopher Lee Watts                                                    Shanann Cathryn Watts
                 Signature of Debtor 1                                                    Signature of Debtor 2
          Date June 4, 2015                                                         Date June 4, 2015
               MM / DD / YYYY                                                            MM / DD / YYYY




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                                              page 9
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                      Entered:06/05/15 08:27:26 Page12 of 14

 Debtor 1    Christopher Lee Watts
 Debtor 2    Shanann Cathryn Watts                                                                  Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2014 to 05/31/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Anadarko wages
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $0.00 from check dated 11/30/2014 .
Ending Year-to-Date Income: $0.00 from check dated 12/31/2014 .

This Year:
Current Year-to-Date Income: $19,684.00 from check dated                           5/31/2015    .

Income for six-month period (Current+(Ending-Starting)): $19,684.00 .
Average Monthly Income: $3,280.67 .



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Covenant wages
Income by Month:
 6 Months Ago:                                   12/2014                    $5,929.63
 5 Months Ago:                                   01/2015                    $6,867.50
 4 Months Ago:                                   02/2015                        $0.00
 3 Months Ago:                                   03/2015                        $0.00
 2 Months Ago:                                   04/2015                        $0.00
 Last Month:                                     05/2015                        $0.00
                                 Average per month:                         $2,132.86




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                               page 10
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                      Entered:06/05/15 08:27:26 Page13 of 14

 Debtor 1    Christopher Lee Watts
 Debtor 2    Shanann Cathryn Watts                                                                  Case number (if known)


                                          Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 12/01/2014 to 05/31/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Children's wages
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $33,164.97 from check dated 11/30/2014 .
Ending Year-to-Date Income: $36,424.58 from check dated 12/31/2014 .

This Year:
Current Year-to-Date Income: $13,939.64 from check dated                           5/31/2015    .

Income for six-month period (Current+(Ending-Starting)): $17,199.25 .
Average Monthly Income: $2,866.54 .



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: It Works commission
Income by Month:
 6 Months Ago:                                   12/2014                      $194.25
 5 Months Ago:                                   01/2015                       $64.50
 4 Months Ago:                                   02/2015                       $33.15
 3 Months Ago:                                   03/2015                       $47.70
 2 Months Ago:                                   04/2015                        $0.00
 Last Month:                                     05/2015                        $0.00
                                 Average per month:                            $56.60




Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Origami commissions
Income by Month:
 6 Months Ago:                                   12/2014                        $0.00
 5 Months Ago:                                   01/2015                        $0.00
 4 Months Ago:                                   02/2015                        $0.00
 3 Months Ago:                                   03/2015                       $54.90
 2 Months Ago:                                   04/2015                        $0.00
 Last Month:                                     05/2015                       $61.10
                                 Average per month:                            $19.33




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                               page 11
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
            Case:15-16240-MER Doc#:5 Filed:06/05/15                                      Entered:06/05/15 08:27:26 Page14 of 14

 Debtor 1    Christopher Lee Watts
 Debtor 2    Shanann Cathryn Watts                                                                  Case number (if known)


Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Thirty One wages
Income by Month:
 6 Months Ago:                                   12/2014                       $17.50
 5 Months Ago:                                   01/2015                        $0.00
 4 Months Ago:                                   02/2015                       $39.00
 3 Months Ago:                                   03/2015                      $137.38
 2 Months Ago:                                   04/2015                       $16.91
 Last Month:                                     05/2015                        $0.00
                                 Average per month:                            $35.13




Official Form 22A-2                                                  Chapter 7 Means Test Calculation                               page 12
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
